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  11    Gould Electronics Inc.
  12                    IN THE UNITED STATES DISTRICT COURT
  13                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
  14                           LOS ANGELES DIVISION
  15     CALIFORNIA DEPARTMENT OF            2:20-cv-11293-SVW-(JPR)
         TOXIC SUBSTANCES CONTROL, et
  16     al.,
                                             CLARIFICATION TO
  17                                         JOINT RULE 26(f) REPORT
                      Plaintiffs,
  18
              v.                                       Courtroom: 10A
  19                                                   Judge: Stephen V. Wilson
         NL INDUSTRIES, INC., a New Jersey
  20     corporation; GOULD ELECTRONICS                Action Filed: December 14, 2020
         INC., an Arizona corporation; KINS-
  21     BURSKY BROS. SUPPLY, INC., a Cali-            Trial Date: April 19, 2022
         fornia corporation; TROJAN BATTERY            Time: 9:00 a.m.
  22     COMPANY, LLC, a Delaware limited li-
         ability company; RAM CAR BATTER-
  23     IES INC., a California corporation;
         CLARIOS, LLC, a Wisconsin limited lia-
  24     bility company; QUEMETCO, INC., a
         Delaware corporation; INTERNA-
  25     TIONAL METALS EKCO, LTD., a Cali-
         fornia corporation; and BLOUNT, INC.,
  26     a Delaware corporation,
  27
                           Defendants.
  28
                                                1          Clarification to Joint Rule 26(f) Report
                                                         (Case No. CV 2:20-cv-11293-SVW-(JPR))
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                                              2        Clarification to Joint Rule 26(f) Report
                                                     (Case No. CV 2:20-cv-11293-SVW-(JPR))
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    1          Defendants NL Industries, Inc., Gould Electronics Inc., Kinsbursky Bros.
    2   Supply, Inc., Trojan Battery Company, LLC, Ramcar Batteries Inc., Clarios, LLC,
    3   Quemetco, Inc., International Metals Ekco, Ltd., and Oregon Tool, Inc. (formerly
    4   known as Blount, Inc.) (collectively, “Defendants”), by and through their counsel of
    5   record, submit this Clarification to the Joint Rule 26(f) Report filed on December
    6   29, 2021. In the Joint Rule 26(f) Report, the parties agreed on certain matters and
    7   set forth their differing views on certain matters regarding the Rule 26(f) topics
    8   applicable to the April 19, 2022, bench trial (“April 2022 trial”), which the Court
    9   scheduled in its November 15, 2021, Scheduling Notice. Subsequent
  10    communications between Plaintiffs and Defendants have revealed that the Joint Rule
  11    26(f) Report contained an ambiguity as to which the parties now hold differing
  12    interpretations. This document clarifies Defendants’ intent regarding that provision
  13    of the Joint Rule 25(f) Report. Defendants offered Plaintiffs the opportunity to
  14    clarify their own interpretation via a joint submittal, but Plaintiffs declined.
  15                                       CLARIFICATION
  16           1.        On December 29, 2021, the parties submitted a Joint Rule 26(f)
  17    Report. ECF 263. This document focused on the trial scheduled for April 2022
  18    regarding the scope of the compensable cleanup area in this case. Section II.B of the
  19    Joint Rule 26(f) Report listed topics that the parties agreed should not be adjudicated
  20    at the April 2022 trial. The fourth element of that list was “[c]ontribution,
  21    divisibility, and third party liability.” Id. at 3.
  22           2.        On January 3, 2022, Defendants contacted Plaintiffs to clarify that in
  23    Section II.B.4 they intended only to agree to forego individual divisibility
  24    arguments, but not the more general argument that the extent of impact attributable
  25    to releases from the Vernon Plant is divisible or distinguishable from lead sources
  26    other than the Vernon Plant.
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                                                      3         Clarification to Joint Rule 26(f) Report
                                                              (Case No. CV 2:20-cv-11293-SVW-(JPR))
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    1         3.        The parties conferred repeatedly in writing and by conference.
    2   Ultimately the parties could not agree on mutually acceptable language clarifying
    3   the intended scope of Section II.B.4.
    4         4.        Defendants did not intend in the Rule 26(f) Report to leave to a later
    5   date any argument that the effects of releases from the Vernon Plant are legally and
    6   factually divisible or distinguishable from other sources of contamination in the
    7   residential areas, particularly given that this issue could be central to the Court’s
    8   determination of the extent of the “compensable cleanup area” in the April trial.
    9   Defendants contend that if their right to assert a such a defense regarding the extent
  10    of the compensable cleanup area is deferred until a later phase of the case, then the
  11    ultimate definition of the compensable cleanup area itself will also likely be
  12    deferred, and the April trial would not narrow the scope of the litigation as intended.
  13          5.        As Plaintiffs declined Defendants’ proposal of a brief joint
  14    submission to the Court, Defendants are submitting this document to clarify the
  15    extent of agreement reflected in the Joint Rule 26(f) Report. No Court action is
  16    requested.
  17                                            Respectfully submitted:
  18     Dated: February 18, 2022                 BENESCH FRIEDLANDER COPLAN
  19                                              & ARONOFF LLP

  20                                              By: /s/ Krista M. Enns
                                                  Krista M. Enns
  21
  22                                              Counsel for Defendant and Counter-
                                                  Claimant Gould Electronics Inc.
  23
  24     BEVERIDGE & DIAMOND, P.C.                RAF LAW GROUP

  25     By: /s/ Eric L. Klein                    By: /s/Anna L. Le May
         Eric L. Klein (pro hac vice)             Ruben A. Castellon
  26                                              Anna L. Le May
         Counsel for Defendant Clarios, LLC
  27                                              Counsel for International Metals Ekco,
                                                  Ltd.
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                                                    4          Clarification to Joint Rule 26(f) Report
                                                             (Case No. CV 2:20-cv-11293-SVW-(JPR))
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    3    By: /s/James C. Macdonald                Alexander P. Swanson
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    4                                             Counsel for Quemetco, Inc.
         Counsel for Ramcar Batteries, Inc.
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    6    FARELLA BRAUN + MARTELL                  MURCHISON & CUMMING, LLP
    7    LLP                                      By: /s/Richard A. Dongell
                                                  Richard A. Dongell
    8    By: /s/Donald Sobelman                   Eric P. Weiss
         Donald Sobelman
    9                                             Counsel for Kinbursky Bros. Supply, Inc.
         Linda Sobczynski                         dba KBI
  10     John Ugai
  11     Counsel for Oregon Tool, Inc.,
  12     formerly known as Blount, Inc.
  13     SHEPPARD, MULLIN, RICHTER                LAW OFFICES OF JOEL L. HERZ
  14     & HAMPTON LLP                            By: /s/Joel L. Herz
                                                  Joel L. Herz
  15     By: /s/Stephen J. O’Neil
                                                  Counsel for NL Industries, Inc.
  16     Stephen J. O’Neil
         Jeffrey J. Parker
  17
  18     Counsel for Trojan Battery
         Company, LLC
  19
  20                                SIGNATURE ATTESTATION
  21          Pursuant to Local Rule 5-4.3.4(a)(2)(i), I, Krista M. Enns, attest that all other
  22    signatories listed, and on whose behalf this filing is submitted, concur in the filing’s
  23    content and have authorized the filing.
  24
         Dated: February 18, 2022                 By: /s/ Krista M. Enns
  25                                              Krista M. Enns
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                                                   5           Clarification to Joint Rule 26(f) Report
                                                             (Case No. CV 2:20-cv-11293-SVW-(JPR))
